     Case: 4:11-cv-01975-CEJ Doc. #: 58 Filed: 08/14/12 Page: 1 of 3 PageID #: 622



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

CHERYL COMPTON, et al.,                          )
                                                 )
                                   Plaintiffs,   )
                                                 )        Cause No. 4:11CV01975 CEJ
v.                                               )
                                                 )
ST. LOUIS METROPOLITAN POLICE                    )
DEPARTMENT, et al.,                              )
                                                 )
                                   Defendants.   )

    MOTION OF DEFENDANTS ST. LOUIS METROPOLITAN POLICE DEPARTMENT,
     BOARD OF POLICE COMMISSIONERS OF THE ST. LOUIS METROPOLITAN
      POLICE DEPARTMENT, RICHARD GRAY, JERRY LEE, BETTYE-BATTLE
           TURNER, THOMAS IRWIN AND FRANCIS SLAY TO COMPEL

         Come now Defendants St. Louis Metropolitan Police Department; Board of Police

Commissioners of the St. Louis Metropolitan Police Department; Richard Gray, Jerry Lee,

Bettye-Battle Turner, Thomas Irwin 1 , and Francis Slay, in their official capacities as the Board

of Police Commissioners of the St. Louis Metropolitan Police Department (hereinafter referred

to collectively as “Police Defendants”) and, pursuant to Rule 37(3)(B)(iii) of the Federal Rules

of Civil Procedure and E.D. Mo. L.R. 37-3.04, move for an order compelling each and every

Plaintiff 2 herein to answer Interrogatories propounded by Defendants, and in support thereof

state as follows:

         1.      Pursuant to Rule 33, Police Defendants propounded Interrogatories to each


1
    Identified in the First Amended Complaint as “Thomas Irvin.”
2
  Plaintiffs are identified as follows: Brett Alexander; Jordan Bolden; Ryan Burrus; Cheryl
Compton; Donald Griffith; John Harris; Steven Hill; Adam Kahn; Jim Kohr; Diane Lee; Steven
Tray Lott; Jonathan McFarland; Johnny Medina; Kaare Melby; John Mills; Jung Moon; Keith
William Rose; Alex Shoenstein; Casey Smith; William Smith; Brian Alan Staak; Bradley Veltre;
and Frederick Vickers.
 Case: 4:11-cv-01975-CEJ Doc. #: 58 Filed: 08/14/12 Page: 2 of 3 PageID #: 623



Plaintiff herein on July 5, 2012, for answer within thirty (30) days.             Copies of said

Interrogatories were sent to all attorneys of record via United States Mail, first-class postage

prepaid.

       2.      More than thirty (30) days have passed since said Interrogatories were

propounded and sent to Plaintiffs, without answers or other responses thereto from any Plaintiff.

       3.      On August 6, 2012, counsel for Police Defendants received an e-mail message

from counsel for Defendant City of St. Louis, which was directed to all counsel of record,

including all counsel for Plaintiffs, attempting to schedule a conference call among the parties on

August 9, 2012 to discuss the outstanding Interrogatories from Defendant City of St. Louis and

from Police Defendants to each and every Plaintiff in an attempt to resolve a discovery matter.

       4.      Relying on the representations of counsel for Defendant City of St. Louis, counsel

for Police Defendants indicated their willingness to participate in the conference call proposed

for August 9, 2012.

       5.      No conference call among all counsel took place on August 9, 2012, despite

counsel for all Defendants indicating their willingness to participate; in speaking with counsel

for Defendant City of St. Louis, counsel for Police Defendants learned that none of Plaintiffs’

counsel had ever responded to the e-mail sent or otherwise communicated a willingness to confer

regarding the outstanding discovery.

       6.      On August 14, 2012, between the hours of 11:00 a.m. and 11:30 a.m., counsel for

Police Defendants left a voicemail message for Plaintiff’s counsel Timothy Hogan; left a

voicemail message for Plaintiff’s counsel Joseph Welch; left a verbal message with a person in

the office of Plaintiff’s counsel Maggie Ellinger-Locke; and phoned Plaintiff’s counsel Cynthia

West, but was unable to leave a voicemail message; all of the foregoing communications were




                                                2
 Case: 4:11-cv-01975-CEJ Doc. #: 58 Filed: 08/14/12 Page: 3 of 3 PageID #: 624



done in an attempt to resolve a discovery matter.

       7.      As of the filing of this Motion, counsel for Police Defendants has not received a

communication from any of the aforementioned Plaintiffs’ counsel.

       8.      Pursuant to the Case Management Order entered in this action on January 13,

2012, the parties shall complete all discovery in this case no later than August 15, 2012.

       9.      Police Defendants have been, and will be, prejudiced by each Plaintiff’s refusal to

answer Interrogatories propounded to them.

       WHEREFORE, Police Defendants pray for an Order from the Court compelling

Plaintiffs, and each of them, to respond, without objection except as to privilege, to the

Interrogatories propounded by Police Defendants on July 5, 2012, within seven (7) days of such

Order, and for such other and further relief as the Court deems fair and equitable under the

premises.

                                                     BOARD OF POLICE COMMISSIONERS
                                                     OF THE CITY OF ST. LOUIS


                                                     /s/ Mark Lawson
                                                     ________________________________________________________________________

                                                     Mark Lawson #33337MO
                                                     General Counsel
                                                     Jennifer Chestnut Strada #51503MO
                                                     Assistant General Counsel
                                                     Attorney for Police Defendants
                                                     1200 Clark Ave., Room 609
                                                     St. Louis, MO 63103
                                                     Phone: (314) 444-5609 Fax: (314) 444-5611

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was filed electronically with the
Clerk of the Court on August 14, 2012, to be served by operation of the Court’s electronic filing
system upon all attorneys of record.

                                                     /s/ Mark Lawson
                                                     ________________________________________________________________________




                                                 3
